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VIRGINIA: IN THE CIRCUIT COURT FOR HENRY COUNTY

LATASHA NOEL,
Plaintiff,
CL B- 63S

Vv. Case No.:
WAL-MART STORES EAST, LP
Serve; CT Corporation System
4701 Cox Road
Suite 285
Glen Allen, VA 23060

JOHN DOES 1 through 2
Defendants.

 

COMPLAINT

 

Plaintiff, Latasha Noel, by counsel, moves for judgment against the
defendants, Wal-Mart Stores East, LP, John Doe 1, and John Doe 2, on grounds and
in the amount set forth below:

I, Nature of the Action
1. Defendant Wal-Mart Stores East, LP (hereinafter, “Wal-Mart”) owns and
operates a store located at 976 Commonwealth Boulevard, Martinsville, VA 24112, in
Henry County Virginia.
2, Upon information and belief, John Doe 1 was responsible for mopping floors
at the store owned and operated by defendant Wal-Mart.
3. Upon information and belief, John Doe 2 was responsible for ensuring that
the floors in the store owned and operated by defendant Wal-Mart were maintained

in a safe condition, responsible for the training of John Doe 1, and responsible for

EXHIBIT

 

 

 
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checking for spills and other dangers throughout the store and in the department
John Doe 1 was working.

4. Upon information and belief, John Does 1 through 2 are individuals whose
names are unknown but are Virginia residents.

5. On or about September 7, 2017, plaintiff was an invitee at the defendant Wal-
Mart's store at 976 Commonwealth Boulevard, Martinsville, VA 24112. Specifically,
plaintiff was invited onto the premises to purchase goods from the store that day.

6. As the owner of the premises, a place to which the plaintiff had been
specifically invited, Wal-Mart and its agents and employees, including John Does 1
through 2, had a duty to maintain the premises in a reasonably safe condition, to
make a reasonable inspection of the premises to determine any latent defects that
might exist, and to warn the plaintiff of any such latent defects known to it or its
agents and employees.

7. Notwithstanding said duties, defendants allowed soda-water to accumulate on
the floor of its store where it knew that the plaintiff would be shopping, although the
defendants knew, or in the exercise of reasonable care should have known, that said
defect existed,

8. Onor about September 7, 2017, when plaintiff was invited to Wal-Mart's
premises to shop, she was not warned of any defect and the defendants posted no
warning about either hazard, despite knowing that the plaintiff would be shopping in
this area.

9. As a direct and proximate result of the defendants’ failure to inspect the
premises, failure to clean the liquid from the floor, and failure to warn of the

dangerous condition which was known, or in the exercise of reasonable care should

 

 
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have been known to the defendants, the plaintiff slipped on the accumulated liquid
and sustained serious injuries

10. Asadirect and proximate result of the slip and fall and related injuries, the
plaintiff has been forced to incur substantial medical bills and has suffered and
continues to suffer severe physical pain.

11, Inaddition to the physical injuries sustained by the plaintiff, the plaintiff has
suffered mental pain and suffering after the fall.

12,  Atall times relevant, the plaintiff used ordinary care and was free of

negligence.

II. Jurisdiction

13, Plaintiff Latasha Noel is an individual maintaining her residence in the
Commonwealth of Virginia and specifically in Henry County.

14. Defendant, Wal-Mart operates a business in the Commonwealth of Virginia,
and specifically owns and operates a store located in Henry County.

15. Based on information and belief defendants Does 1 through 2 are residents of
the Commonwealth of Virginia and/or hold themselves out for employment in the

Commonwealth of Virginia.

III. Causes of Action

Count One
(Negligence)

16, Plaintiff hereby incorporates and re-alleges Paragraphs 1-15.

17, The defendants failed to keep the floor in its store free of liquid, which they

 
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had a duty to do as the owner and employees of the store.

18. By failing to properly maintain the floor, the defendants failed to use the
degree of care that an ordinary person would use to avoid injury to another.

19, Asadirect and proximate result of the defendant's failure to use ordinary
care, the plaintiff suffered and continues to suffer damage to her health, economic

circumstances, and mental well-being.

WHEREFORE, the Plaintiff demands judgment against the Defendants,
jointly and severally, in the amount of ONE HUNDRED AND FIFTY THOUSAND
Dollars ($150,000.00), as compensatory damages, pre- and post-judgment interest,
and her costs expended in this matter.

TRIAL BY JURY IS DEMANDED

Respectfully Ve
Latasha CZ

Wf

KRISTOPHER R. OLIN, VSB No. 78890
SPICER OLIN & ASSOCIATES, PC

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Counsel for the Plaintiff, Latasha Noel

 

 

 
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CERTIRNICATE OF MALLING

I, Kristopher R. Olin, do hereby certify that on this 2"¢ day of April, 2018 a

true and correct copy of the foregoing Complaint was mailed, postage prepaid, to the
following individuals:

Walmart Stores East, LP

c/o CT Corporation System, Registered Agent
4701 Cox Road

Suite 285

Glen Allen, VA 23060

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Lo Kristopher R. Olin

 

 
